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PROB. 12
(Rev.3f88)
UNITED STATES DISTRICT COURT f `
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for
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WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

U.S.A. vS. VALERIE L. ALBONETTI Docket NO. 2:03€R20047~01

 

Petition on Probation and Supervised Release

COMES NOW FREDDIE MCMASTER ll PROBATION OFFICER 0F THE COURT presenting
an official report upon the conduct and attitude of Valerie L. A]bonetti who Was placed on supervision by the
Honorable Samuel H. Mays, Jr. sitting in the Court at Memphis, TN on the ith day of .i anuary, 2004 who fixed the
period of supervision at two {2{ years*, and imposed the general terms and conditions theretofore adopted by the
court and also imposed special conditions and terms as follows:

 

The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the probation
officer for treatment of narcotic addiction or drug or alcohol dependency which may include testing for the detection
of substance use or abuse.

The defendant shall participate as directed in a program of mental health treatment approved by the probation
ofticer.

*In the instant offense, Probation began January 9, 2004, but Was revoked August 19, 2004, vvith a Sentence of thirty

(30) days imprisonment and a one (l) year term of Supervised Release, Which began September 14, 2004, with the

following condition added to the previously imposed conditions:

The defendant shall serve six (6) months community confinement

RESPECTFULLY PRESEN'I`ING PE'I`ITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
(PLEASE SEE ATTACHED)

PRAYING THAT THE COURT WILL ORDER that the Supervised Release petition filed January 14, 2005,
be dismissed

ORDER OF COURT Respectfully,
oonsidered and aerea this mck day NLA &MJ
of M , 20"_ and ordered filed and Freddie McMaster ll
made a part of the records in the above case. Probation 0flicer
Wl__gso\r*
k d Place Memphis. Tennessee

 

 

United States Dist;rict Judge
Date Mav 13. 2005

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ease 2:03-cr-20047-SHl\/l Documemez Filed 05/13/05 MC§,IBAT§§MHQMENT

Memorandum

DATE: May 13, 2005

REPLY To N
ATTN oF: Freddie McMaster 11, USPo J\l*l
sUBJECT= ALBoNETTI, valerie L.

Docket No.: 2:03CR20047-001
STATUS UPDATE/CONFIDENTIAL MEMORANDUM

TO: Honorable Samuel H. Mays, Jr.
United States District Judge

On lanuary lO, 2005, Your Honor signed a Petition on Probation and Supervised Release authorizing
the issuance of a summons for Ms. Albonetti in order to address a violation of her supervision The
violation was based on her failure to complete six (6) months in the Community Corrections Center
(hal fway house). On February 2, 2005, she appeared before Magi strate Vescovo for an lnitial
Appearance whereby she was released on her own recognizance She is currently in federal custody
due to a warrant for violation of her bond conditions

Assistant United States Attomey Rae ()Iiver contacted this officer today requesting this violation be
dismissed She explained she has received information that the Federal Bureau of Investigation is
investigating allegations of sexual misconduct by employee(s) of the halfway house towards
residents Ms. Albonetti was discharged from the halfway house a short time after she made an
allegation of sexual misconduct by an employee. In light of this new information, it is requested the
petition filed with the Clerk’s Oftice on lanuary 14, 2005, be dismissed

FLM:gp

DISTRIC COURT - vwaner D"RITICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 82 in
case 2:03-CR-20047 Was distributed by faX, mail, or direct printing on
May l8, 2005 to the parties listed.

 

 

Edwin A. Perry

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Honorable Samuel Mays
US DISTRICT COURT

